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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
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                                     )
UNITED STATES OF AMERICA             )
                                     )  Case: 22-mj-203-GMH
              v.                     )
                                     )
JOSEPH BRODY                         )
                                     )
____________________________________)

       Unopposed Motion to Permit Travel to District of Columbia for Employment

       Joseph Brody, by and through counsel, respectfully requests that this Court permit him to

come to the District of Columbia for employment purposes only when approved in advance by his

Pretrial Services Officer. In support of this Motion, Mr. Brody states the following facts.

1. Mr. Brody was arrested on a complaint on September 15, 2022. He was ordered released on

   his own personal recognizance. He has been supervised by United States Pretrial Services

   since that time and has had no violations of his conditions of release. He has no criminal

   record.

2. Among Mr. Brody’s release conditions is a requirement that he stay away from the District of

   Columbia with the exception of attending Court proceedings, meeting with counsel, and

   required PSA business. (ECF No. 14).

3. Mr. Brody lives in Virginia and is employed by a company that performs restoration work on

   fire-damaged buildings. His work typically is performed on sites in Virginia, but he has been

   asked by his employer to perform work on a site in the District of Columbia and may need to

   perform additional work in the future here.




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4. Mr. Brody therefore requests that the Court amend his conditions of release to permit him to

   come to the District of Columbia for employment purposes so long as he receives pre-approval

   from his Pretrial Services Officer.

5. Counsel for Mr. Brody has discussed this request with Mr. Brody’s Pretrial Services officer

   and the assigned Assistant United States Attorney. Neither objects to this request.



                                            Respectfully submitted,


                                            A. J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

                                                   /s/
                                            _____________________________
                                            NED SMOCK
                                            Assistant Federal Public Defender
                                            625 Indiana Avenue, N.W., Suite 550
                                            Washington, D.C. 20004
                                            (202) 208-7500




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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
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                                     )
UNITED STATES OF AMERICA             )
                                     )  Case: 22-mj-203-GMH
              v.                     )
                                     )
JOSEPH BRODY                         )
                                     )
____________________________________)



                                           ORDER
       Upon consideration of the Defendant’s Motion to Permit Travel for Employment, it is

hereby ORDERED that the Motion is GRANTED and that Mr. Brody shall be permitted to travel

to the District of Columbia for employment purposes so long as he receives pre-approval from his

Pretrial Services Officer.

       All other requirements of the September 15, 2022 Order Setting Conditions in Release

remain in place.

       So ordered.



Date: ____________
                                                   ___________________________________
                                                   United States Magistrate Judge




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